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                   UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA
    BLACK EMERGENCY RESPONSE TEAM,
    et al.,
                              Plaintiffs,
         v.                                            No. 21-cv-1022-G
    JOHN M. O’CONNOR, et al.
                                   Defendants.


                       ANSWER TO AMENDED COMPLAINT
         By and through counsel, Defendants1 submit the following Answer to Plaintiff’s

Amended Complaint filed on November 9, 2021. Defendants deny each factual

allegation in the Amended Complaint unless the averment is specifically admitted

herein. Although the amended complaint does not adhere to the pleading guidelines of

Fed. R. Civ. P 8(d)(1), any denial of allegations is not based upon the complexity of the

allegation. Defendants further answer the Complaint as follows:

         1.      The allegations in ¶¶ 1-2 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

         2.      The allegations in ¶ 3 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied. Defendants

are without sufficient knowledge to admit or deny the remaining allegations in ¶ 3, so

they are therefore denied.



1
 For purposes of this Answer, “Defendants” refers to the Defendants who were
numbered 1-18 on the Amended Complaint.
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       3.      The allegations in ¶ 4 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied. The citations

to case law speak for themselves and no response is required. To the extent a response is

necessary, they are legal conclusions to which no response is required.

       4.      The allegations in ¶ 5 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       5.      Defendants are without sufficient knowledge to admit or deny the

allegations set forth in ¶¶ 6-7, so they are therefore denied.

       6.      Various allegations in ¶ 8 contain legal conclusions to which no response is

necessary. To the extent a response is required, those allegations are denied. Defendants

are without sufficient knowledge to admit or deny the remaining allegations in ¶ 8, so

they are also therefore denied.

       7.      The allegations in ¶¶ 9-12 contain legal conclusions to which no response

is necessary. To the extent a response is required, the allegations are denied.

       8.      Various allegations in ¶¶ 13-14 contain legal conclusions to which no

response is necessary. To the extent a response is required, the allegations are denied.

Defendants are without sufficient knowledge to admit or deny the numerous remaining

allegations, so they are therefore denied.

       9.      Defendants are without sufficient knowledge to admit or deny the

numerous allegations in ¶ 15, so they are therefore denied.



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       10.    Various allegations in ¶ 16 contain legal conclusions to which no response

is necessary. To the extent a response is required, the allegations are denied. Defendants

are without sufficient knowledge to admit or deny the numerous remaining allegations,

so they are therefore denied.

       11.    The final sentence in both ¶¶ 17-18 contains legal conclusions to which no

response is necessary. To the extent a response is required, the allegations are denied.

Defendants are without sufficient knowledge to admit or deny the numerous remaining

allegations, so they are therefore denied.

       12.    Various allegations in ¶ 19 contain legal conclusions to which no response

is necessary. To the extent a response is required, the allegations are denied. Defendants

are without sufficient knowledge to admit or deny the remaining allegations, so they are

therefore denied.

       13.    The final sentence in ¶ 20 contains legal conclusions to which no response

is necessary. To the extent a response is required, the allegations are denied. Defendants

are without sufficient knowledge to admit or deny the remaining allegations, so they are

therefore denied.

       14.    Defendants admit that John M. O’Connor is the Attorney General of

Oklahoma. The remaining allegations in ¶ 21 contain legal conclusions to which no

response is necessary. To the extent a response is required, the allegations are denied.




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       15.    Defendants admit that Joy Hofmeister is the Oklahoma State

Superintendent of Public Instruction. The remaining allegations in ¶ 22 contain legal

conclusions to which no response is necessary. To the extent a response is required, the

allegations are denied.

       16.    Defendants admit that the individuals listed in ¶ 23 are members of the

State Board of Education. The remaining allegations in ¶ 23 contain legal conclusions to

which no response is necessary. To the extent a response is required, the allegations are

denied.

       17.    Defendants admit that Kevin Stitt is the Governor of Oklahoma. The

remaining allegations in ¶ 24 contain legal conclusions to which no response is necessary.

To the extent a response is required, the allegations are denied.

       18.    Defendants admit that the individuals listed in ¶ 25 are Regents for Higher

Education. The remaining allegations in ¶ 25 contain legal conclusions to which no

response is necessary. To the extent a response is required, the allegations are denied.

       19.    Defendants admit that the individuals listed in ¶ 26 are members of the

University of Oklahoma Board of Regents. The remaining allegations in ¶ 26 contain

legal conclusions to which no response is necessary. To the extent a response is required,

the allegations are denied.

       20.    Defendants are without sufficient knowledge to admit or deny the

numerous allegations in ¶¶ 27-28, so they are therefore denied.



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       21.    The allegations in ¶¶ 29-31 contain legal conclusions to which no response

is necessary. To the extent a response is required, the allegations are denied.

       22.    The allegations in ¶ 32 contain legal quotations and conclusions to which

no response is necessary. To the extent a response is required, the allegations are denied.

       23.    The allegations in ¶¶ 33-35 contain legal conclusions to which no response

is necessary. To the extent a response is required, the allegations are denied

       24.    The allegations in ¶ 36 contain legal conclusions to which no response is

necessary. To the extent a response is required, the cited documents speak for themselves.

       25.    The allegations in ¶ 37 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       26.    The allegations in ¶ 38 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are admitted.

       27.    The allegations in ¶ 39 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       28.    The allegations in ¶ 40 contain legal conclusions to which no response is

necessary. To the extent a response is required, the statutes speak for themselves and

Defendants are without sufficient knowledge to admit or deny the accompanying

allegations, so they are therefore denied.

       29.    The allegations in ¶¶ 41-43 contain legal conclusions to which no response

is necessary. To the extent a response is required, the statutes speak for themselves and

the accompanying allegations are denied.
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       30.    The allegations in ¶ 44 contain legal conclusions to which no response is

necessary. To the extent a response is required, the statutes speak for themselves and

Defendants are without sufficient knowledge to admit or deny the accompanying

allegations, so they are therefore denied.

       31.    The allegations in ¶ 45 contain legal conclusions to which no response is

necessary. To the extent a response is required, the statutes speak for themselves and the

allegations are denied.

       32.    The allegations in ¶ 46 contain legal conclusions to which no response is

necessary. To the extent a response is required, the statutes speak for themselves and the

accompanying allegations are denied. Defendants are without sufficient knowledge to

admit or deny the factual allegations at the end of the paragraph, so they are therefore

denied.

       33.    The allegations in ¶¶ 47-50 contain legal conclusions to which no response

is necessary. To the extent a response is required, the statutes speak for themselves and

the accompanying allegations are denied.

       34.    The allegations in ¶ 51 contain legal conclusions to which no response is

necessary. To the extent a response is required, the statutes speak for themselves and the

accompanying allegations are denied. Defendants admit only that state and federal laws

and regulating addressing discrimination are well established.




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       35.    The allegations in ¶¶ 52-55 contain legal conclusions to which no response

is necessary. To the extent a response is required, the statutes speak for themselves and

the accompanying allegations are denied.

       36.     Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 56, so they are therefore denied.

       37.    Defendants admit that the SBE approved temporary, emergency rules

regarding the implementation and enforcement of HB 1775 (codified as Okla. Admin.

Code 210:10-1-23. The remaining allegations in ¶ 57 are legal conclusions to which no

response is necessary. To the extent a response is required, the remaining allegations are

denied.

       38.    The allegations in ¶¶ 58-65 contain legal conclusions to which no response

is necessary. To the extent a response is required, the rules speak for themselves and the

accompanying allegations are denied.

       39.    The allegations in ¶ 66 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied. The remaining

allegations in ¶ 66 are also denied, as the EPS guidance speaks for itself and does not say

what is alleged.

       40.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 67-68, so they are therefore denied.




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       41.    The allegations in ¶¶ 69-73 contain legal conclusions to which no response

is necessary. To the extent a response is required, the legal conclusions are denied.

Defendants are without sufficient knowledge to admit or deny the factual allegations in

¶¶ 69-73, so those allegations are therefore denied.

       42.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 74, so they are therefore denied.

       43.    The allegations in ¶ 75 contain legal conclusions to which no response is

necessary. To the extent a response is required, the legal conclusions are denied.

Defendants are without sufficient knowledge to admit or deny the remaining allegations

in ¶ 75, so the allegations are therefore denied.

       44.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 76, so they are therefore denied.

       45.    The allegations in ¶ 77 contain legal conclusions to which no response is

necessary. To the extent a response is required, the legal conclusions are denied. The

remaining allegations are denied, as well.

       46.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 78-91, so they are therefore denied.

       47.    The allegations in ¶ 92 contain legal conclusions to which no response is

necessary. To the extent a response is required, the statute speaks for itself. Defendants

are without sufficient knowledge to admit or deny the remaining allegations in ¶ 92, so

they are therefore denied.
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       48.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 93-97, so they are therefore denied.

       49.    The allegations in ¶ 98 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       50.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 99, so they are therefore denied.

       51.    The allegations in ¶ 100 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       52.    The allegations in ¶ 101 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied. The remaining

allegations are denied, as well.

       53.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 102-103, so they are therefore denied.

       54.    The allegations in ¶ 104 contain legal conclusions to which no response is

necessary. To the extent a response is required, the cited EO speaks for itself and the

accompanying allegations are denied.

       55.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 105, so they are therefore denied.

       56.    The allegations in ¶ 106 contain legal conclusions to which no response is

necessary. To the extent a response is required, the quotations speak for themselves.



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       57.    The allegations in ¶ 107 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       58.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 108, so they are therefore denied.

       59.     The allegations in ¶ 109 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       60.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 110-115, so they are therefore denied.

       61.    The allegations in ¶ 116 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied. Defendants

are without sufficient knowledge to admit or deny the remaining allegations in ¶ 116, so

they are therefore denied.

       62.    The allegations in ¶ 117 contain legal conclusions to which no response is

necessary. To the extent a response is required, the quotations speak for themselves and

the allegations are denied. Defendants are without sufficient knowledge to admit or deny

the remaining allegations in ¶ 117, so they are therefore denied.

       63.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 118, so they are therefore denied.




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       64.    The allegations in ¶ 119 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied. Defendants

are without sufficient knowledge to admit or deny the remaining allegations in ¶ 119, so

they are therefore denied.

       65.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 120-126, so they are therefore denied.

       66.    The allegations in ¶ 127 are denied.

       67.    The allegations in ¶ 128 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       68.    The allegations in ¶ 129 contain legal conclusions to which no response is

necessary. To the extent a response is required, the statutes speak for themselves and the

accompanying allegations are denied.

       69.    The allegations in ¶ 130 contain legal conclusions to which no response is

necessary. To the extent a response is required, the statutes speak for themselves and the

accompanying allegations are denied.

       70.    Defendants admit that the quotation in ¶ 131 is accurately transcribed,

although it is an incomplete representation of the website’s description of the state

standards. In short, the website speaks for itself.

       71.    The allegations in ¶ 132 contain legal conclusions to which no response is

necessary. To the extent a response is required, the Oklahoma Constitution speaks for

itself, as does the handbook quote, which is inaccurately transcribed in part.
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       72.    The allegations in ¶¶ 133-136 contain legal conclusions to which no

response is necessary. To the extent a response is necessary, the allegations are denied.

       73.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 137-139, so they are therefore denied.

       74.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 140, so they are therefore denied. Defendants admit only that the two

largest school districts in Oklahoma are the Oklahoma City Public Schools and Tulsa

Public Schools.

       75.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 141-144, so they are therefore denied.

       76.    The allegations in ¶ 145 contain legal conclusions to which no response is

necessary. To the extent a response is required, the allegations are denied.

       77.    The allegations in the first sentence of ¶ 146 are legal conclusions to which

no response is necessary. To the extent a response is necessary, the allegations in the first

sentence are denied. Defendants are without sufficient knowledge to admit or deny the

allegations in the remaining sentences, so they are therefore denied.

       78.    The allegations in the first sentence of ¶ 147 is a legal conclusion to which

no response is necessary. To the extent a response is required, the allegation is denied.

Defendants are without sufficient knowledge to admit or deny the allegations in the

remaining sentences, so they are therefore denied.



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       79.    The allegations in the final sentence of ¶ 148 contain legal conclusions to

which no response is required. To the extent a response is required, the allegations are

denied. Defendants are without sufficient information to admit or deny the allegations in

the remaining sentences, so they are therefore denied.

       80.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶ 149, so they are therefore denied.

       81.    The allegations in the final sentence of ¶ 150 contain legal conclusions to

which no response is necessary. To the extent a response is required, the allegations are

denied. Defendants are without sufficient knowledge to admit or deny the numerous

allegations contained in the remaining sentences, so they are also denied.

       82.    Defendants are without sufficient knowledge to admit or deny the

allegations in ¶¶ 151-155, so they are therefore denied.

       83.    In addressing ¶ 156, Defendants incorporate all of their prior responses.

       84.    The allegations in ¶¶ 157-163 contain numerous legal conclusions to which

no response is required. To the extent any response is required, the allegations are denied.

       85.    In addressing ¶ 164, Defendants incorporate all of their prior responses.

       86.    The allegations in ¶¶ 165-170 contain numerous legal conclusions to which

no response is necessary. To the extent any response is required, the allegations are

denied.

       87.    In addressing ¶ 171, Defendants incorporate all of their prior responses.



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       88.    The allegations in ¶¶ 172-176 contain numerous legal conclusions to which

no response is necessary. To the extent any response is required, the allegations are

denied.

       89.    In addressing ¶ 177, Defendants incorporate all of their prior responses.

       90.    The allegations in ¶¶ 178-189 contain numerous legal conclusions to which

no response is necessary. To the extent any response is required, the allegations are

denied.

       91.    The remaining paragraphs are prayers for relief to which no response is

required. To the extent a response is necessary, Defendant’s deny that Plaintiffs are

entitled to the relief sought.

                             AFFIRMATIVE DEFENSES
       92.    Plaintiffs fail to state a claim upon which relief can be granted.

       93.    Plaintiffs lack standing.

       94.    Governor Stitt is not a proper party.

       95.    Defendants are immune from suit.




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                               Respectfully submitted,

                                  s/ Andy N. Ferguson
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